                   Case 23-11069-CTG                   Doc 1320          Filed 12/08/23           Page 1 of 2



                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                              )
    In re:                                                                    )     Chapter 11
                                                                              )
    YELLOW CORPORATION, et al., 1                                             )     Case No. 23-11069 (CTG)
                                                                              )
                                 Debtors.                                     )     (Jointly Administered)
                                                                              )     RE: Docket No. 1285

               NOTICE OF FILING OF ASSET PURCHASE AGREEMENT DATED AS OF
                  DECEMBER 8, 2023 BETWEEN THE DEBTORS AND UNIS, LLC

        PLEASE TAKE NOTICE that, on September 15, 2023 the Court entered that certain Order (I)(A)
Approving Bidding Procedures for the Sale or Sales of the Debtors’ Assets; (B) Scheduling Auctions and
Approving the Form and Manner of Notice Thereof; (C) Approving Assumption and Assignment Procedures
(D) Scheduling Sale Hearings and Approving the Form and Manner of Notice Thereof; (II)(A) Approving
the Sale of the Debtors’ Assets Free and Clear of Liens, Claims, Interests, and Encumbrances and (B)
Approving the Assumption and Assignment of Executory Contracts and Unexpired Lease; and (III)
Granting Related Relief [Docket No. 575] (the “Bidding Procedures Order). 2

         PLEASE TAKE FURTHER NOTICE that the Debtors commenced the Auction for Real
Property Assets on November 28, 2023 and completed bidding for those certain Real Property Assets set
forth in the Notice of Winning Bidders and, if Applicable, Back-up Bidders with Respect to Certain of the
Debtors’ Real Property Assets [Docket No. 1268] (the “Notice of Winning Bidders”) filed on December 4,
2023, including, among others, those Real Property Assets which are the subject of the Unis Asset Purchase
Agreement (defined below).

       PLEASE TAKE FURTHER NOTICE that, on December [6], 2023, the Debtors filed the
proposed Order (I) Approving Certain Asset Purchase Agreements; (II) Authorizing and Approving Sales
of Certain Real Property Assets of the Debtors Free and Clear of Liens, Claims, Interests, and
Encumbrances, in Each Case Pursuant to the Applicable Asset Purchase Agreement; (III) Approving the
Assumption and Assignment of Certain Executory Contracts and Unexpired Leases in Connection
Therewith, in Each Case as Applicable Pursuant to the Applicable Asset Purchase Agreement; and (IV)
Granting Related Relief [Docket No. 1285] seeking authorization, among other things, to enter into the
Unis Asset Purchase Agreement.

       PLEASE TAKE FURTHER NOTICE that attached at Exhibit A hereto is a true and correct
copy of that certain Asset Purchase Agreement Dated as of December 8, 2023 Between Unis, LLC, as
Purchaser, and Yellow Corporation and its Subsidiaries Named Therein, as Sellers (as may be amended,
modified, or supplemented from time to time, including all exhibits and schedules thereto, the “Unis Asset
Purchase Agreement”).


1
       A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
       noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place of business and the
       Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland Park, Kansas 66211.
2
       Capitalized terms used in this notice but not defined herein shall have the meanings ascribed to them in the Bidding Procedures
       Order or the Notice of Winning Bidders, as applicable.
             Case 23-11069-CTG   Doc 1320   Filed 12/08/23    Page 2 of 2



Dated: December 8, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)     Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)     David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)        Whitney Fogelberg (admitted pro hac vice)
Edward Corma (DE Bar No. 6718)          KIRKLAND & ELLIS LLP
PACHULSKI STANG ZIEHL & JONES LLP       KIRKLAND & ELLIS INTERNATIONAL LLP
919 North Market Street, 17th Floor     300 North LaSalle
P.O. Box 8705                           Chicago, Illinois 60654
Wilmington, Delaware 19801              Telephone:       (312) 862-2000
Telephone:      (302) 652-4100          Facsimile:       (312) 862-2200
Facsimile:      (302) 652-4400          Email:           patrick.nash@kirkland.com
Email:          ljones@pszjlaw.com                       david.seligman@kirkland.com
                tcairns@pszjlaw.com                      whitney.fogelberg@kirkland.com
                pkeane@pszjlaw.com
                ecorma@pszjlaw.com      -and-

                                        Allyson B. Smith (admitted pro hac vice)
                                        KIRKLAND & ELLIS LLP
                                        KIRKLAND & ELLIS INTERNATIONAL LLP
                                        601 Lexington Avenue
                                        New York, New York 10022
                                        Telephone:     (212) 446-4800
                                        Facsimile:     (212) 446-4900
                                        Email:         allyson.smith@kirkland.com

                                        Co-Counsel for the Debtors and Debtors in
                                        Possession
